           Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 1 of 40



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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------X

 JESUS TECUN, MANUEL CIPRIANO                               COMPLAINT
 MEJIA, CONCEPCION SANCHEZ
 ALONSO, CRISTINA GATICA LUNA,                              COLLECTIVE ACTION UNDER
 LAURO GARZON VALENCIA FLORES,                              29 U.S.C. § 216(b)
 and MIRIAM PINOS BUENDIA, individually
 and on behalf of others similarly situated,

                                    Plaintiffs,

                  -against-

 MILDRED DELI GROCERY INC. (d/b/a
 MILDRED DELI & GROCERY),
 COLOMBIA NUNEZ and AURELIA
 MEDINA,

                                     Defendants.
 -------------------------------------------------------X

        Jesus Tecun, Manuel Cipriano Mejia, Concepcion Sanchez Alonso, Cristina Gatica Luna,

Lauro Garzon Valencia Flores, and Miriam Pinos Buendia individually and on behalf of others

similarly situated (collectively “Plaintiffs”), by and through their attorney, Michael Faillace &

Associates, P.C., upon their knowledge and belief, and as against Mildred Deli Grocery Inc.

(d/b/a Mildred Deli & Grocery), Colombia Nunez, and Aurelia Medina (collectively

“Defendants”), allege as follows:

                                      NATURE OF THE ACTION
                Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 2 of 40



           1.       This is an action to recover minimum and overtime wages and liquidated

damages, interest, costs, and attorneys’ fees for violations of the FLSA (“FLSA”), the New York

Labor Law (“NYLL”), and associated rules and regulations.

           2.       Plaintiffs are former employees of Mildred Deli Grocery Inc. (d/b/a Mildred Deli

& Grocery), Colombia Nunez, and Aurelia Medina.

           3.       Defendants own, operate, and/or control a Deli/grocery located at 231 E. 116th

Street, New York, New York 10029 under the name Mildred Deli & Grocery.

           4.       Upon information and belief, Defendants Colombia Nunez and Aurelia Medina

serve or served as owners, managers, principals or agents of Defendant Corporation and through

this corporate entity operate the Deli/grocery.

           5.       Plaintiffs were employed as cashiers and ostensibly as delivery workers.

           6.       However, the delivery workers were also required to perform various other

restaurant duties, such as dishwashing, preparing food, cleaning the kitchen, the awning, the

owner’s residence (which was the same building as the deli), the stoves, and tables, sweeping

and mopping, twisting and tying up cardboard boxes, and throwing them out, throwing out the

garbage, cutting meat and vegetables, recycling bottles, stocking boxes of beverages in the

basement, carrying fruit out to the fruit stand, changing lights, fixing cables, stock, cleaning the

stairs (2 to 3 times a week), and buying merchandise (3 times a week) (hereinafter non- tip

duties).

           7.       At all times relevant to this Complaint, Plaintiffs worked for Defendants in excess

of 40 hours per week, without appropriate minimum wage or overtime compensation for the

hours that they worked.




                                                   -2-
              Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 3 of 40



         8.       Rather, Defendants failed to maintain accurate recordkeeping of the hours

worked, failed to pay Plaintiffs appropriately for any hours worked, either at the straight rate of

pay or for any additional overtime premium.

         9.       Further, Defendants failed to pay Plaintiffs the required “spread of hours” pay for

any day in which they worked over 10 hours per day.

         10.      Defendants ostensibly employed and accounted for some Plaintiffs as delivery

workers in their payroll, but in actuality their duties required greater or equal time spent in non-

tipped functions, including those outlined above.

         11.      Regardless, at all times, Defendants paid these Plaintiffs (and other similarly

situated employees) at a rate that was lower than the required tip-credit rate.

         12.      In addition, under state law, Defendants were not entitled to take a tip credit

because these Plaintiffs (and other similarly situated employees’) non-tipped duties exceeded

20% of each workday, or 2 hours per day, whichever was less in each day. (12 N.Y.C.R.R.

§146).

         13.      Upon information and belief, Defendants employed the policy and practice of

disguising these Plaintiffs (and other similarly situated employees’) actual duties in payroll

records to avoid paying them at the minimum wage rate, and to enable them to pay these

Plaintiffs (and other similarly situated employees) at the lower tip-credited rate (which they still

failed to do) by designating them as delivery workers or other tipped workers instead of as non-

tipped employees.

         14.      In addition, Defendants maintained a policy and practice of unlawfully

appropriating Plaintiffs’ and other tipped employees’ tips and made unlawful deductions from

Plaintiffs’ and other tipped employees’ wages.



                                                  -3-
          Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 4 of 40



       15.       Defendants’ conduct extends beyond Plaintiffs to all other similarly situated

employees.

       16.     At all times relevant to this Complaint, Defendants maintained a policy and

practice of requiring Plaintiffs and other employees to work in excess of forty (40) hours per

week without providing the minimum wage and overtime compensation required by federal and

state law and regulations.

       17.      Plaintiffs now bring this action on behalf of themselves, and other similarly

situated individuals, for unpaid minimum and overtime wages pursuant to the Fair Labor

Standards Act of 1938, 29 U.S.C. § 201 et seq. (“FLSA”), and for violations of N.Y. Lab. Law

§§ 190 et seq. and 650 et seq. (the “NYLL”), and the “spread of hours” and overtime wage

orders of the New York Commission of Labor codified at N.Y. COMP. CODES R. & REGS. tit. 12,

§ 146-1.6(a) (herein the “Spread of Hours Wage Order”), including applicable liquidated

damages, interest, attorneys’ fees, and costs.

       18.     Plaintiffs seek certification of this action as a collective action on behalf of

themselves individually, and all other similarly situated employees and former employees of

defendants pursuant to 29 U.S.C. § 216(b).


                                 JURISDICTION AND VENUE


       19.     This Court has subject matter jurisdiction under 28 U.S.C. § 1331 (federal

question) and the FLSA, and supplemental jurisdiction over Plaintiffs’ state law claims under 28

U.S.C. § 1367(a).

       20.     Venue is proper in this district under 28 U.S.C. § 1391(b) and (c) because all, or a

substantial portion of, the events or omissions giving rise to the claims occurred in this district,



                                                 -4-
          Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 5 of 40



Defendants maintained their corporate headquarters and offices within this district, and

Defendants operate a Deli/grocery located in this district. Further, Plaintiffs were employed by

Defendants in this district.

                                         THE PARTIES

                                            Plaintiffs

       21.     Plaintiff Jesus Tecun (“Mr. Tecun” or “Plaintiff Tecun”) is an adult individual

residing in New York County, New York. Mr. Tecun was employed by defendants from

approximately January 2015 until on or about July 2016.

       22.     Plaintiff Manuel Cipriano Mejia (“Mr. Cipriano” or “Plaintiff Cipriano”) is an

adult individual residing in New York County, New York. Mr. Cipriano was employed by

defendants from approximately April 2015 until on or about March 2016.

       23.     Plaintiff Concepcion Sanchez Alonso (“Mr. Sanchez” or “Plaintiff Sanchez”) is

an adult individual residing in New York County, New York. Mr. Sanchez was employed by

defendants from approximately May 2013 until on or about November 2013 and from

approximately October 2015 until on or about June 20, 2016.

       24.     Plaintiff Cristina Gatica Luna (“Ms. Gatica” or “Plaintiff Gatica”) is an adult

individual residing in New York County, New York. Ms. Gatica was employed by defendants

from approximately March 9, 2015 until on or about October 2015.

       25.      Plaintiff Lauro Garzon Valencia Flores (“Mr. Garzon” or “Plaintiff Garzon”) is

an adult individual residing in New York County, New York. Mr. Garzon was employed by

Defendants from approximately January 2014 until on or about December 2014.




                                               -5-
          Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 6 of 40



       26.     Plaintiff Miriam Pinos Buendia (“Ms. Pinos” or Plaintiff Pinos”) is an adult

individual residing in Bronx County, New York. Ms. Pinos was employed by defendants from

approximately February 2014 until on or about February 2015.

                                             Defendants

       27.     At all times relevant to this Complaint, Defendants own, operate, and/or control a

Deli/grocery located at 231 E. 116th Street, New York, New York 10029, under the name

Mildred Deli & Grocery.

       28.     Upon information and belief, Mildred Deli Grocery Inc. (Defendant Corporation)

is a corporation organized and existing under the laws of the State of New York. Upon

information and belief, it maintains its principal place of business at 231 E. 116th Street, New

York, New York 10029.

       29.     Defendant Colombia Nunez is an individual engaging (or who was engaged) in

business in this judicial district during the relevant time period.

       30.     Defendant Colombia Nunez is sued individually in her capacity as an owner,

officer and/or agent of the Defendant Corporation.

       31.     Defendant Colombia Nunez possessed operational control over Defendant

Corporation, an ownership interest in Defendant Corporation, and controlled significant

functions of Defendant Corporation. She determined the wages and compensation of the

employees of Defendants, including Plaintiffs, and established the schedules of the employees,

maintained employee records, and had the authority to hire and fire employees.

       32.     Defendant Aurelia Medina is an individual engaging (or who was engaged) in

business in this judicial district during the relevant time period.




                                                 -6-
            Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 7 of 40



          33.   Defendant Aurelia Medina is sued individually in her capacity as an officer and/or

agent of Defendant Corporation.

          34.   Defendant Aurelia Medina possessed operational control over Defendant

Corporation, and controlled significant functions of Defendant Corporation. She determined the

wages and compensation of the employees of Defendants, including Plaintiffs, established the

schedules of the employees, maintained employee records, and had the authority to hire and fire

employees.


                                  FACTUAL ALLEGATIONS

                              Defendants Constitute Joint Employers

          35.   Defendants operate a Deli/grocery located in the East Harlem section of

Manhattan.

          36.   Defendants maintained as their principal place of business a centralized office

which is also the location of the Deli/grocery.

          37.   Individual Defendants Colombia Nunez and Aurelia Medina possess operational

control over Defendant Corporation, possess an ownership interest in Defendant Corporation,

and control significant functions of Defendant Corporation.

          38.   Defendants are associated and joint employers, act in the interest of each other

with respect to employees, pay employees by the same method, and share control over the

employees.

          39.   Each Defendant possessed substantial control over Plaintiffs (and other similarly

situated employees) working conditions, and over the policies and practices with respect to the

employment and compensation of Plaintiffs, and all similarly situated individuals referred to

herein.

                                                  -7-
          Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 8 of 40



       40.      Defendants jointly employed Plaintiffs, and all similarly situated individuals, and

are their employers within the meaning of 29 U.S.C. 201 et seq. and the NYLL.

       41.      In the alternative, Defendants constitute a single employer of Plaintiffs and all

similarly situated individuals.

       42.      Upon information and belief, individual defendants Colombia Nunez and Aurelia

Medina operate Defendant Corporation as either an alter ego of themselves, and/or fail to

operate Defendant Corporation as a legal entity separate and apart from themselves by, among

other things:

                (a)    failing to adhere to the corporate formalities necessary to operate

                       Defendant Corporation as a separate and legally distinct entity;

                (b)    defectively forming or maintaining Defendant Corporation by, among

                       other things, failing to hold annual meetings or maintaining appropriate

                       corporate records;

                (c)    transferring assets and debts freely as between all Defendants;

                (d)    operating Defendant Corporation for their own benefit as the sole or

                       majority shareholders;

                (e)    operating Defendant Corporation for their own benefit and maintaining

                       control over it as a closed corporation or closely controlled entity;

                (f)    intermingling assets and debts of their own with Defendant Corporation;

                (g)    diminishing and/or transferring assets of Defendant Corporation to protect

                       their own interests; and

                (h)    other actions evincing a failure to adhere to the corporate form.




                                                  -8-
          Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 9 of 40



        43.      At all relevant times, Defendants were Plaintiff’s employers within the meaning

of the FLSA and NYLL. Defendants had the power to hire and fire Plaintiffs, controlled the

terms and conditions of their employment, and determined the rate and method of any

compensation in exchange for their services.

        44.      In each year from 2013 to 2016, Defendants, both separately and jointly, had a

gross annual volume of sales of not less than $500,000 (exclusive of excise taxes at the retail

level that are separately stated).

        45.      In addition, upon information and belief, defendants and/or their enterprise were

directly engaged in interstate commerce. For example, numerous items that were used in the

Deli/grocery on a daily basis, such as olive oil and meat, are produced outside of the State of

New York.



                                         Individual Plaintiffs

        46.    Plaintiffs are former employees of Defendants, who primarily were employed as

cashiers and ostensibly employed as delivery workers. However, the delivery workers were

required to do the non-tipped tasks outlined above at the deli/grocery.

        47.      Plaintiffs seek to represent a class of similarly situated individuals under 29

U.S.C. 216(b).

                                         Plaintiff Jesus Tecun

        48.      Plaintiff Tecun was employed by Defendants from approximately January 2015

until on or about July 2016.

        49.      At all times relevant to this complaint, Defendants ostensibly employed Plaintiff

Tecun as a delivery worker.



                                                  -9-
          Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 10 of 40



         50.   However, Plaintiff Tecun was also required to spend a significant portion of his

work day performing the non-tipped, non-delivery duties described above.

         51.   Although Plaintiff Tecun was ostensibly employed as a delivery worker, he spent

over twenty percent of each day performing non-delivery work throughout his employment with

Defendants.

         52.   Plaintiff Tecun’s work duties required neither discretion nor independent

judgment.

         53.   Plaintiff Tecun regularly handled goods in interstate commerce, such as food and

other supplies produced outside the State of New York.

         54.   Throughout his employment with Defendants, Plaintiff Tecun regularly worked in

excess of 40 hours per week.

         55.   From approximately January 2015 until on or about March 2015, Plaintiff Tecun

worked from approximately 11:00 a.m. until on or about 11:00 p.m. five days a week and from

approximately 11:00 a.m. until on or about 11:30 p.m. two days a week (typically 85 hours per

week).

         56.   From approximately March 2015 until on or about July 2016, Plaintiff Tecun

worked from approximately 11:00 a.m. until on or about 11:00 p.m. four days a week, from

approximately 11:00 a.m. until on or about 11:30 p.m. two days a week and from approximately

5:00 p.m. until on or about 11:00 p.m. on Tuesdays (typically 79 hours per week).

         57.   Throughout his entire employment, Plaintiff Tecun was paid his wages in cash.

         58.   From approximately January 2015 until on or about March 2015, Defendants paid

Plaintiff Tecun a fixed salary of $670 per week.

         59.   From approximately March 2015 until on or about January 2016, Defendants paid



                                              - 10 -
         Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 11 of 40



Plaintiff Tecun a fixed salary of $650 per week.

       60.     From approximately January 2016 until on or about July 2016, Defendants paid

Plaintiff Tecun a fixed salary of $700 per week.

       61.     Defendants never granted Plaintiff Tecun any meal breaks or any other kind of

rest period of any length.

       62.     Plaintiff Tecun’s pay did not vary even when he was required to stay late or work

a longer day than his usual schedule.

       63.     In fact, Defendants required Plaintiff Tecun to continue working 30 minutes past

his scheduled departure time at least two days a week and did not pay him for the additional time

they required him to work.

       64.     Plaintiff Tecun was never notified by Defendants that his tips were being included

as an offset for wages.

       65.     Defendants did not account for these tips in any daily or weekly accounting of

Plaintiff Tecun’s wages.

       66.     Plaintiff Tecun was not required to keep track of his time, nor to his knowledge

did the Defendants utilize any time tracking device, such as punch cards or sign in sheets, that

accurately reflected his actual hours worked.

       67.     Further, Defendants did not provide Plaintiff Tecun with any document or other

statement accurately accounting for all of his actual hours worked or setting forth the rate of pay

for all of his hours worked.

       68.      No notification, either in the form of posted notices or other means, was given to

Plaintiff Tecun regarding overtime and wages under the FLSA and NYLL.

       69.     Defendants never provided Plaintiff Tecun with a written notice, in English and in



                                                - 11 -
         Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 12 of 40



Spanish (Plaintiff Tecun’s primary language), of his rate of pay, employer’s regular pay day, and

such other information as required by NYLL §195(1).

       70.     Defendants required Plaintiff Tecun to purchase “tools of the trade” with his own

funds—including two bikes, a jacket , a chain , six padlocks, a basket and two pairs of lights.

                                   Plaintiff Manuel Cipriano Mejia

       71.     Plaintiff Cipriano was employed by Defendants from approximately April 2015

until on or about March 2016.

       72.     At all times relevant to this complaint, Defendants ostensibly employed Plaintiff

Cipriano as a delivery worker.

       73.     However, Plaintiff Cipriano was also required to spend a significant portion of his

work day performing the non-tipped, non-delivery duties described above.

       74.     Although Plaintiff Cipriano was ostensibly employed as a delivery worker, he

spent over twenty percent of each day performing non-tip work throughout his employment with

Defendants.

       75.     Plaintiff Cipriano’s work duties required neither discretion nor independent

judgment.

       76.     Plaintiff Cipriano regularly handled goods in interstate commerce, such as food

and other supplies produced outside the State of New York.

       77.     Throughout his employment with Defendants, Plaintiff Cipriano regularly worked

in excess of 40 hours per week.

       78.     From approximately April 2015 until on or about November 2015, Plaintiff

Cipriano worked from approximately 11:00 a.m. until on or about 11:20 p.m. seven days a week

(typically 86.5 hours per week).



                                               - 12 -
         Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 13 of 40



       79.       From approximately November 2015 until on or about March 2016, Plaintiff

Cipriano worked from approximately 11:00 p.m. until on or about 11:20 a.m. six days a week

and from approximately 11:00 p.m. until on or about 7:20 a.m. one day a week (typically 82.5

hours per week).

       80.       Throughout his employment with Defendants, Plaintiff Cipriano was paid his

wages in cash.

       81.       From approximately April 2015 until on or about November 2015, Plaintiff

Cipriano was paid a fixed salary of $500 per week.

       82.       From approximately November 2015 until on or about February 2016, Plaintiff

Cipriano was paid a fixed salary of $470 per week.

       83.       From approximately February 2016 until on or about March 2016, Plaintiff

Cipriano was paid a fixed salary of $550 per week.

       84.       Defendants never granted Plaintiff Cipriano any meal breaks or any other kind of

rest period of any length.

       85.       Plaintiff Cipriano’s pay did not vary even when he was required to stay late or

work a longer day than his usual schedule.

       86.       In fact, Defendants regularly required Plaintiff Cipriano to continue working 20

minutes past his scheduled departure time at least two days a week and did not pay him for the

additional time they required him to work.

       87.       Plaintiff Cipriano was never notified by Defendants that his tips were being

included as an offset for wages.

       88.       Defendants did not account for these tips in any daily or weekly accounting of

Plaintiff Cipriano’s wages.



                                                - 13 -
         Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 14 of 40



       89.     Plaintiff Cipriano was not required to keep track of his time, nor to his knowledge

did the Defendants utilize any time tracking device, such as punch cards or sign in sheets, that

accurately reflected his actual hours worked.

       90.     Further, Defendants never provided Plaintiff Cipriano with any document or other

statement accurately accounting for all of his actual hours worked, or setting forth the rate of pay

for all of his hours worked.

       91.     No notification, either in the form of posted notices or other means, was given to

Plaintiff Cipriano regarding overtime and wages under the FLSA and NYLL.

       92.     Defendants never provided Plaintiff Cipriano with a written notice, in English and

in Spanish (Plaintiff Cipriano’s primary language), of his rate of pay, employer’s regular pay

day, and such other information as required by NYLL §195(1).

       93.     Defendants required Plaintiff Cipriano to purchase “tools of the trade” with his

own funds—including four pairs of pants and two pairs of shoes.

                               Plaintiff Concepcion Sanchez Alonso

       94.     Plaintiff Sanchez was employed by Defendants from approximately May 2013

until on or about November 2013 and from approximately October 2015 until on or about June

20, 2016.

       95.     Defendants employed Plaintiff Sanchez as a cashier.

       96.     Mr. Sanchez’s work duties required neither discretion nor independent judgment.

       97.     Plaintiff Sanchez regularly handled goods in interstate commerce, such as fish,

meats, vegetables and other supplies produced outside of the State of New York.

       98.     Throughout his employment with Defendants, Plaintiff Sanchez regularly worked

in excess of 40 hours per week.



                                                - 14 -
         Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 15 of 40



       99.       From approximately May 2013 until on or about November 2013, Plaintiff

Sanchez worked from approximately 11:00 a.m. until on or about 11:00 p.m. three days a week

and from approximately 11:00 a.m. until on or about 11:30 p.m. four days a week (typically 86

hours per week).

       100.      From approximately October 2015 until on or about June 20, 2016, Plaintiff

Sanchez worked from approximately 12:00 p.m. until on or about 12:30 a.m. seven days a week

(typically 87.5 hours per week).

       101.      Throughout his employment with Defendants, Plaintiff Sanchez was paid his

wages in cash.

       102.      From approximately May 2013 until on or about November 2013, Defendants

paid Plaintiff Sanchez a fixed salary of $500 per week.

       103.      From approximately October 2015 until on or about June 20, 2016, Defendants

paid Plaintiff Sanchez a fixed salary of $550 per week.

       104.      Plaintiff Sanchez’s pay did not vary even when he was required to stay late or

work a longer day than his usual schedule.

       105.      In fact, from approximately May 2013 until on or about November 2013,

defendants required Plaintiff Sanchez to continue working 20 minutes past his scheduled

departure time four days a week, and did not compensate him for the additional time they

required him to work.

       106.      Similarly, from approximately October 2015 until on or about June 20, 2016,

defendants required Plaintiff Sanchez to continue working 30 minutes past his regular departure

time every day, and did not pay him for the additional time they required him to work.




                                                - 15 -
         Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 16 of 40



       107.      Plaintiff Sanchez was not required to keep track of his time, nor to his knowledge

did the Defendants utilize any time tracking device, such as punch cards or sign in sheets, that

accurately reflected his actual hours worked.

       108.      Defendants never granted Plaintiff Sanchez any kind of meal break or rest period

of any length.

       109.      Further, Defendants never provided Mr. Sanchez with any document or other

statement accurately accounting for all of his actual hours worked, or setting forth the rate of pay

for all of his hours worked.

       110.      Defendants never provided Plaintiff Sanchez with each payment of wages an

accurate statement of wages, as required by NYLL 195(3).

       111.      No notification, either in the form of posted notices or other means, was given to

Plaintiff Sanchez regarding overtime and wages under the FLSA and NYLL.

       112.      Defendants never provided Plaintiff Sanchez with a written notice, in English and

in Spanish (Plaintiff Sanchez’s primary language), of his rate of pay, employer’s regular pay day,

and such other information as required by NYLL §195(1).

                                       Plaintiff Cristina Gatica Luna

       113.       Plaintiff Gatica was employed by Defendants from approximately March 9,

2015 until on or about October 2015.

       114.      Plaintiff Gatica was employed by Defendants as a cashier.

       115.      Plaintiff Gatica’s work duties required neither discretion nor independent

judgment.

       116.      Plaintiff Gatica regularly handled goods in interstate commerce, such as food and

other supplies produced outside the State of New York.



                                                - 16 -
         Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 17 of 40



       117.      Throughout her employment with Defendants, Plaintiff Gatica regularly worked

in excess of 40 hours per week.

       118.      From approximately March 2015 until on or about May 2015, Plaintiff Gatica

worked from approximately 10:00 a.m. until on or about 12:30 a.m. seven days a week (typically

101.5 hours per week).

       119.      From approximately May 2015 until on or about October 2015, Plaintiff Gatica

worked from approximately 10:00 a.m. until on or about 12:30 a.m. Thursdays through Tuesdays

(typically 87.5 hours per week).

       120.      Throughout her employment with Defendants, Plaintiff Gatica was paid her

wages in cash.

       121.      From approximately March 2015 until on or about October 2015, Defendants paid

Plaintiff Gatica a fixed salary of $420 per week.

       122.      Plaintiff Gatica’s pay did not vary even when she was required to stay later or

work a longer day than his usual schedule.

       123.      For example, Defendants required Plaintiff Gatica to start working one hour prior

to her regular start time and continue working one and a half hours past her scheduled departure

time and did not compensate her for the additional time they required her to work.

       124.      Defendants never granted Plaintiff Gatica any kind of meal break or rest period of

any length.

       125.      Plaintiff Gatica was never notified by Defendants that her tips were being

included as an offset for wages.

       126.      Defendants did not account for these tips in any daily or weekly accounting of

Plaintiff Gatica’s wages.



                                                - 17 -
           Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 18 of 40



          127.   In addition, defendants withheld a portion of the tips customers left for Plaintiff

Gatica.

          128.   Plaintiff Gatica was not required to keep track of her time, nor to her knowledge

did Defendants utilize any time tracking device, such as punch cards or sign in sheets, that

accurately reflected her actual hours worked.

          129.   Further, Defendants never provided Plaintiff Gatica with any document or other

statement accurately accounting for all of her actual hours worked, or setting forth the rate of pay

for all of her hours worked.

          130.   Defendants did not provide Plaintiff Gatica with each payment of wages an

accurate statement of wages, as required by NYLL 195(3).

          131.   No notification, either in the form of posted notices or other means, was given to

Plaintiff Gatica regarding overtime and wages under the FLSA and NYLL.

          132.   Defendants never gave any notice to Plaintiff Gatica, in English and in Spanish

(Plaintiff Gatica’s primary language), of her rate of pay, employer’s regular pay day, and such

other information as required by NYLL §195(1).

                                   Plaintiff Lauro Garzon Valencia Flores

          133.   Plaintiff Garzon was employed by Defendants from approximately January 2014

until on or about December 2014.

          134.   From approximately January 2014 until on or about April 2014, Defendants

employed Plaintiff Garzon as a delivery worker; from approximately May 2014 until on or about

December 2014, defendants employed Plaintiff Garzon as a house worker.

          135.   Mr. Garzon’s work duties required neither discretion nor independent judgment.




                                                 - 18 -
         Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 19 of 40



       136.      Plaintiff Garzon regularly handled goods in interstate commerce, such as food and

other supplies produced outside the State of New York.

       137.      Throughout his employment with Defendants, Plaintiff Garzon regularly worked

in excess of 40 hours per week.

       138.      From approximately January 2014 until on or about April 2014, Plaintiff Garzon

worked as a delivery worker from approximately 11:00 p.m. until on or about 11:20 a.m. three

days a week and from approximately 11:00 p.m. until on or about 2:30 or 3:00 p.m. three days a

week (typically 83.5 to 85 hours per week).

       139.      From approximately May 2014 until on or about December 2014, Plaintiff Garzon

worked as a house worker for Ms. Colombia’s son for 11 to 12 hours a day six days a week

(typically 66 to 72 hours per week).

       140.      Throughout his employment with Defendants, Plaintiff Garzon was paid his

wages in cash.

       141.      From approximately January 2014 until on or about April 2014, Defendants paid

Plaintiff Garzon a fixed salary of $400 per week.

       142.      From approximately May 2014 until on or about December 2014, Defendants

paid Plaintiff Garzon a fixed salary of $600 per week.

       143.      Plaintiff Garzon’s pay did not vary even when he was required to stay later or

work a longer day than his usual schedule.

       144.      Specifically, from approximately January 2014 until on or about April 2014,

Defendants required Plaintiff Garzon to continue working 20 minutes past his scheduled

departure time three days a week and three and a half to four hours past his scheduled departure




                                                - 19 -
         Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 20 of 40



time three days a week and did not compensate him for the additional time they required him to

work.

        145.   From approximately January 2014 until on or about April 2014, defendants did

not grant Plaintiff Garzon meal breaks or rest periods of any kind.

        146.   Plaintiff Garzon was never notified by Defendants that his tips were being

included as an offset for wages.

        147.   Defendants never accounted for these tips in any daily or weekly accounting of

Plaintiff Garzon’s wages.

        148.   In addition, Defendants withheld all of the tips customers paid Plaintiff Garzon

for orders placed through the internet.

        149.   Plaintiff Garzon was not required to keep track of his time, nor to his knowledge

did Defendants utilize any time tracking device, such as punch cards or sign in sheets, that

accurately reflected his actual hours worked.

        150.   Further, Defendants never provided Mr. Garzon with any document or other

statement accurately accounting for all of his actual hours worked, or setting forth the rate of pay

for all of his hours worked.

        151.   Defendants did not provide Plaintiff Garzon with each payment of wages an

accurate statement of wages, as required by NYLL 195(3).

        152.   No notification, either in the form of posted notices or other means, was ever

given to Plaintiff Garzon regarding overtime and wages under the FLSA and NYLL.

        153.   Defendants never provided Plaintiff Garzon with a written notice, in English and

in Spanish (Plaintiff Garzon’s primary language), of his rate of pay, employer’s regular pay day,

and such other information as required by NYLL §195(1).



                                                - 20 -
           Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 21 of 40



       154.    Defendants required Plaintiff Garzon to purchase “tools of the trade” with his own

funds—including bicycle maintenance, a pair of work boots and a pair of gloves.

                                   Plaintiff Miriam Pinos Buendia

       155.    Plaintiff Pinos was employed by Defendants from approximately February 2014

until on or about February 2015.

       156.    Defendants employed Plaintiff Pinos as a cashier.

       157.    Ms. Pino’s work duties required neither discretion nor independent judgment.

       158.    Plaintiff Pinos regularly handled goods in interstate commerce, such as fish,

meats, vegetables and other supplies produced outside of the State of New York.

       159.    Throughout her employment with Defendants, Plaintiff Pinos regularly worked in

excess of 40 hours per week.

       160.    From approximately February 2014 until on or about February 2015, Plaintiff

Pinos worked from approximately 11:00 a.m. until on or about 12:00 a.m. four days a week and

from approximately 11:00 a.m. until on or about 1:00 a.m. three days a week (typically 94 hours

per week).

       161.    Throughout her employment with Defendants, Plaintiff Pinos was paid her wages

in cash.

       162.    For a period of one week in February 2014, Defendants paid Plaintiff Pinos a

fixed salary of $400 per week.

       163.    For a period of one week in February 2014, defendants paid Plaintiff Pinos a fixed

salary of $350 per week.

       164.    For a period of one week in February 2014, Defendants paid Plaintiff Pinos a

fixed salary of $300 per week.



                                               - 21 -
         Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 22 of 40



       165.    For a period of one week in February 2014, Defendants paid Plaintiff Pinos a

fixed salary of $250 per week.

       166.    From approximately March 2014 until on or about February 2015, defendants

paid Plaintiff Pinos a fixed salary of $250 per week.

       167.    Plaintiff Pinos’ pay did not vary even when she was required to stay late or work

a longer day than her usual schedule.

       168.    In fact, defendants required Plaintiff Pinos to continue working one hour past her

scheduled departure time three days a week, and did not compensate her for the additional time

they required her to work.

       169.    Plaintiff Pinos was never notified by Defendants that her tips were being included

as an offset for wages.

       170.    Defendants never accounted for these tips in any daily or weekly accounting of

Plaintiff Pinos’ wages.

       171.    In addition, Defendants withheld all of the tips customers paid Plaintiff Pinos.

       172.    Plaintiff Pinos was not required to keep track of her time, nor to her knowledge

did Defendants utilize any time tracking device, such as punch cards or sign in sheets, that

accurately reflected her actual hours worked.

       173.    Defendants never granted Plaintiff Pinos any kind of meal break or rest period of

any length.

       174.    Further, Defendants never provided Ms. Pinos with any document or other

statement accurately accounting for all of her actual hours worked, or setting forth the rate of pay

for all of her hours worked.

       175.    Defendants never provided Plaintiff Pinos with each payment of wages an



                                                - 22 -
         Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 23 of 40



accurate statement of wages, as required by NYLL 195(3).

       176.    No notification, either in the form of posted notices or other means, was given to

Plaintiff Pinos regarding overtime and wages under the FLSA and NYLL.

       177.    Defendants never provided Plaintiff Pinos with a written notice, in English and in

Spanish (Plaintiff Pinos’ primary language), of her rate of pay, employer’s regular pay day, and

such other information as required by NYLL §195(1).



                           Defendants’ General Employment Practices

       178.    At all times relevant to this Complaint, Defendants maintained a policy and

practice of requiring all Plaintiffs, and all similarly situated employees, to work in excess of forty

(40) hours per week without paying them appropriate minimum wage, overtime compensation or

“spread of hours” pay, as required by federal and state laws.

       179.    All Plaintiffs were victims of Defendants’ common policy and practices which

violated their rights under the FLSA and New York Labor Law by, inter alia, not paying them

the wages they were owed for the hours they worked.

       180.    Defendants’ pay practices resulted in Plaintiffs not receiving payment for all their

hours worked, resulting in Plaintiffs’ effective rate of pay falling below the required minimum

wage rate.

       181.    Defendants habitually required Plaintiffs to work additional hours beyond their

regular shifts but did not provide them with any additional compensation.

       182.    Furthermore, as part of its regular business practice, Defendants intentionally,

willfully, and repeatedly harmed Plaintiffs by engaging in a pattern, practice, and/or policy of




                                                - 23 -
         Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 24 of 40



violating the FLSA and the NYLL. This policy and pattern or practice included depriving

delivery workers of a portion of the tips earned during the course of employment.

        183.   Defendants unlawfully misappropriated charges purported to be gratuities

received by delivery workers and cashiers, and other similarly situated employees, in violation of

New York Labor Law § 196-d (2007).

        184.   Under the FLSA and NYLL, in order to be eligible for a “tip credit,” employers of

tipped employees must either allow employees to keep all the tips that they receive, or forgo the

tip credit and pay them the full hourly minimum wage.

        185.   In addition, defendants failed to inform Plaintiffs who received tips that

Defendants intended to take a deduction against Plaintiffs’ earned wages for tip income, as

required by the NYLL before any deduction may be taken.

        186. Defendants failed to inform Plaintiffs that their tips were being credited towards

the payment of the minimum wage.

        187. Defendants failed to maintain a record of tips earned by Plaintiffs for the deliveries

they made to customers.

        188.   Defendants required some Plaintiffs to perform general non-delivery, non-tipped

restaurant tasks in addition to their primary duties as delivery workers.

        189.   Plaintiffs were employed ostensibly as tipped employees by Defendants, although

their actual duties included greater or equal time spent performing non-tipped duties.

        190.   These Plaintiffs were paid at a rate that was below the tip-credit rate required by

NYLL.

        191.   In addition, under state law, Defendants were not entitled to a tip credit because

these Plaintiffs’ non-tipped duties exceeded 20% of each workday. 12 N.Y. C.R.R. § 146.



                                               - 24 -
         Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 25 of 40



       192.    New York State regulations provide that an employee cannot be classified as a

tipped employee “on any day… in which he has been assigned to work in an occupation in which

tips are not customarily received.” (12 N.Y.C.R.R. §§137-3.3 and 137-3.4). Similarly, under

federal regulation 29 C.F.R. §531.56(e), an employer may not take a tip credit for any employee

time if that time is devoted to a non-tipped occupation.

       These Plaintiffs’ duties were not incidental to their occupation as delivery workers, but

       instead constituted entirely unrelated general restaurant work with duties including the non-

       tipped, non-delivery duties described above.

       193.    In violation of federal and state law, as discussed above, Defendants classified these

Plaintiffs as tipped employees but did not even pay them at the tip-credited rate when they should

have classified them as non-tipped employees and paid them at the minimum wage rate.

       194.    Defendants failed to post required wage and hour posters in the workplace, and

did not provide Plaintiffs, and all similarly situated employees, with statutorily required wage

and hour records or statements of their pay received, in part so as to hide Defendants’ violations

of the wage and hour laws, and to take advantage of the employees’ relative lack of

sophistication in wage and hour laws.

       195.    Plaintiffs were paid their wages in cash.

       196.    Defendants willfully disregarded and purposefully evaded recordkeeping

requirements of the Fair Labor Standards Act and New York Labor Law by failing to maintain

accurate and complete timesheets and payroll records.

       197.    Upon information and belief, these practices by Defendants were done willfully to

disguise the actual number of hours Plaintiffs (and similarly situated individuals) worked, and to

avoid paying Plaintiffs properly for their full hours worked.



                                               - 25 -
         Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 26 of 40



       198.    Defendants employed some Plaintiffs as tipped workers and required them to

provide their own tools for the job, and refused to compensate them or reimburse them for these

expenses.

       199. Defendants engaged in their unlawful conduct pursuant to a corporate policy of

minimizing labor costs and denying employees compensation by knowingly violating the FLSA

and NYLL.

       200. Defendants’ unlawful conduct is intentional, willful, in bad faith, and has caused

significant damages to Plaintiffs and other similarly situated current and former workers.

       201.    Defendants failed to provide Plaintiffs and other employees with wage statements

at the time of their payment of wages, containing: the dates of work covered by that payment of

wages; name of employee; name of employer; address and phone number of employer; rate or

rates of pay and basis thereof, whether paid by the hour, shift, day, week, salary, piece,

commission, or other; gross wages; deductions; allowances, if any, claimed as part of the

minimum wage; net wages; the regular hourly rate or rates of pay; the overtime rate or rates of

pay; the number of regular hours worked; and the number of overtime hours worked, as required

by NYLL §195(3).




                                               - 26 -
         Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 27 of 40



       202.    Defendants failed to provide Plaintiffs and other employees, at the time of hiring

and on or before February 1 of each subsequent year, a statement in English and the employees’

primary language, containing: the rate or rates of pay and basis thereof, whether paid by the

hour, shift, day, week, salary, piece, commission, or other; allowances, if any, claimed as part of

the minimum wage, including tip, meal, or lodging allowances; the regular pay day designated

by the employer; the name of the employer; any “doing business as" names used by the

employer; the physical address of the employer's main office or principal place of business, and a

mailing address if different; and the telephone number of the employer, as required by New York

Labor Law §195(1).



                           FLSA COLLECTIVE ACTION CLAIMS

       203.    Plaintiffs bring their FLSA minimum wage, overtime, and liquidated damages

claims as a collective action pursuant to FLSA Section 16(b), 29 U.S.C. § 216(b), on behalf of all

similarly situated persons (the “FLSA Class”), i.e., persons who are or were employed by

Defendants or any of them, on or after the date that is three years before the filing of the

complaint in this case (the “FLSA Class Period”).

       204.    At all relevant times, Plaintiffs, and other members of the FLSA Class who are

and/or have been similarly situated, have had substantially similar job requirements and pay

provisions.

       205.    At all relevant times, Plaintiffs, and other members of the FLSA Class who are

and/or have been similarly situated, have been subject to Defendants’ common practices,

policies, programs, procedures, protocols and plans of willfully failing and refusing to pay them




                                                - 27 -
         Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 28 of 40



minimum wage and overtime at a one and one-half times their regular rates for work in excess of

forty (40) hours per workweek.

        206.     The claims of Plaintiffs stated herein are similar to those of the other similarly

situated employees.


                         FIRST CAUSE OF ACTION
        (VIOLATION OF THE MINIMUM WAGE PROVISIONS OF THE FLSA)

        207.     Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

        208.     At all times relevant to this action, Defendants were engaged in commerce or in

an industry or activity affecting commerce.

        209.     Defendants constitute an enterprise within the meaning of the FLSA, 29 U.S.C.

§ 203 (r-s).

        210.     Defendants failed to pay Plaintiffs and the FLSA Class members at the applicable

minimum hourly rate, in violation of 29 U.S.C. § 206(a).

        211.     Defendants’ failure to pay Plaintiffs and the FLSA Class members at the

applicable minimum hourly rate is willful within the meaning of 29 U.S.C. § 255(a).

        212.     Plaintiffs and the FLSA class members were damaged in an amount to be

determined at trial.


                             SECOND CAUSE OF ACTION
               (VIOLATION OF THE OVERTIME PROVISIONS OF THE FLSA)

        213.     Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

        214.     Defendants, in violation of the FLSA, failed to pay Plaintiffs and the FLSA class

members overtime compensation at rates of one and one-half times the regular rate of pay for

each hour worked in excess of forty hours in a workweek, in violation of 29 U.S.C. § 207(a)(1).



                                                 - 28 -
         Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 29 of 40



       215.    Defendants’ failure to pay Plaintiffs and the FLSA Class members overtime

compensation is willful within the meaning of 29 U.S.C. § 255(a).

       216.    Plaintiffs and the FLSA class members were damaged in an amount to be

determined at trial.


                           THIRD CAUSE OF ACTION
               (VIOLATION OF THE NEW YORK MINIMUM WAGE ACT)

       217.    Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

       218.    Defendants, in violation of the NYLL, paid Plaintiffs less than the minimum wage

in violation of NYLL § 652(1) and the supporting regulations of the New York State Department

of Labor.

       219.    Defendants’ failure to pay Plaintiffs minimum wage was willful within the

meaning of NYLL § 663.

       220.    Plaintiffs were damaged in an amount to be determined at trial.


                          FOURTH CAUSE OF ACTION
                (VIOLATION OF THE OVERTIME PROVISIONS OF THE
                            NEW YORK LABOR LAW)

       221.    Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

       222.    Defendants, in violation of the NYLL Art. 19 and 12 N.Y.C.R.R. § 146-1.4, failed

to pay Plaintiffs overtime compensation at rates of one and one-half times the regular rate of pay

for each hour worked in excess of forty hours in a work week.

       223.    Defendants’ failure to pay Plaintiffs overtime compensation is willful within the

meaning of NYLL § 663.

       224.    Plaintiffs were damaged in an amount to be determined at trial.

                                 FIFTH CAUSE OF ACTION

                                               - 29 -
         Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 30 of 40



               (VIOLATION OF THE SPREAD OF HOURS WAGE ORDER
                  OF THE NEW YORK COMMISSIONER OF LABOR)

       225.    Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

       226.    Defendants failed to pay Plaintiffs one additional hour’s pay at the basic

minimum wage rate before allowances for each day Plaintiffs spread of hours exceeded ten hours

in violation of NYLL §§ 650 et seq. and 12 N.Y.C.R.R. §§ 146-1.6.

       227.    Defendants’ failure to pay Plaintiffs an additional hour’s pay for each day

Plaintiffs spread of hours exceeded ten hours was willful within the meaning of NYLL § 663.

       228.    Plaintiffs were damaged in an amount to be determined at trial.

                      SIXTH CAUSE OF ACTION
(VIOLATION OF THE NOTICE AND RECORDKEEPING REQUIREMENTS OF THE
                      NEW YORK LABOR LAW)

       229.    Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

       230.    Defendants failed to provide Plaintiffs with a written notice, in English and in

Spanish (Plaintiffs’ primary language), of their rate of pay, regular pay day, and such other

information as required by NYLL §195(1).

       231.     Defendants are liable to each Plaintiff in the amount of $5,000, together with

costs and attorneys’ fees.

                          SEVENTH CAUSE OF ACTION
                (VIOLATION OF THE WAGE STATEMENT PROVISIONS
                         OF THE NEW YORK LABOR LAW)

       232.    Plaintiffs repeat and reallege all paragraphs above as though set forth fully herein.

       233.    Defendants never provided Plaintiffs with wage statements upon each payment of

wages, as required by NYLL 195(3).

       234.    Defendants are liable to each Plaintiff in the amount of $5,000, together with

costs and attorneys’ fees.


                                               - 30 -
           Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 31 of 40



                                  EIGHTH CAUSE OF ACTION
                                 (RECOVERY OF EQUIPMENT COSTS)

           235.    Plaintiffs repeat and reallege all paragraphs above as though set forth fully

 herein.

           236.    Defendants required Plaintiffs to pay, without reimbursement, the costs and

 expenses for purchasing and maintaining equipment and “tools of the trade” required to

 perform their job, such as bicycles, further reducing their wages in violation of the FLSA and

 NYLL. 29 U.S.C. § 206(a); 29 C.F.R. § 531.35; N.Y. Lab. Law §§ 193 and 198-b.

           237.    Plaintiffs were damaged in an amount to be determined at trial.

                                  NINTH CAUSE OF ACTION
                      (VIOLATION OF THE TIP WITHHOLDING PROVISIONS
                              OF THE NEW YORK LABOR LAW)

           238. Plaintiffs repeat and reallege all paragraphs above as though set forth fully herein.

           239. Defendants unlawfully and without permission from Plaintiffs misappropriated

 and withheld gratuities paid by customers which should have been retained by Plaintiffs.

           240. Defendants’ action violated NYLL §196-d.

           241. Defendants are liable to Plaintiffs in an amount to be determined at trial.


                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully requests that this Court enter judgment against

Defendants:

       (a)        Designating this action as a collective action and authorizing prompt issuance of

notice pursuant to 29 U.S.C. § 216(b) to all putative class members, apprising them of the

pendency of this action, and permitting them promptly to file consents to be Plaintiffs in the

FLSA claims in this action;


                                                 - 31 -
         Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 32 of 40



       (b)       Declaring that Defendants violated the minimum wage provisions of, and

associated rules and regulations under, the FLSA as to Plaintiffs and the FLSA class members;

       (c)       Declaring that Defendants violated the recordkeeping requirements of, and

associated rules and regulations under, the FLSA with respect to Plaintiffs and the FLSA class

members’ compensation, hours, wages, and any deductions or credits taken against wages;

       (d)       Declaring that Defendants’ violation of the provisions of the FLSA are willful as

to Plaintiffs and the FLSA class members;

       (e)       Awarding Plaintiffs and the FLSA class members damages for the amount of

unpaid minimum and overtime wages, and damages for any improper deductions or credits taken

against wages under the FLSA as applicable;

       (f)       Awarding Plaintiffs and the FLSA class members liquidated damages in an

amount equal to 100% of their damages for the amount of unpaid minimum and overtime wages,

and damages for any improper deductions or credits taken against wages under the FLSA as

applicable pursuant to 29 U.S.C. § 216(b);

       (g)       Declaring that Defendants violated the minimum wage provisions of, and rules

and orders promulgated under, the NYLL;

       (h)       Declaring that Defendants violated the overtime wage provisions of, and rules and

orders promulgated under, the NYLL;

       (i)       Declaring that Defendants violated the spread-of-hours requirements of the NYLL

and supporting regulations;

       (j)       Declaring that defendants violated the recordkeeping requirements of the NYLL

with respect to Plaintiffs compensation, hours, wages; and any deductions or credits taken

against wages;



                                                - 32 -
         Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 33 of 40



       (k)     Declaring that Defendants’ violations of the NYLL are willful as to Plaintiffs;

       (l)     Awarding Plaintiffs damages for the amount of unpaid minimum and overtime

wages, and for any improper deductions or credits taken against wages, as well as awarding spread

of hours pay under the NYLL, as applicable;

       (m)     Awarding Plaintiffs damages for Defendants’ violation of the NYLL notice and

recordkeeping provisions, pursuant to NYLL §§198(1-b), 198(1-d);

       (n)     Awarding Plaintiffs liquidated damages in an amount equal to one hundred percent

(100%) of the total amount of minimum wage, spread of hours pay, and overtime compensation

shown to be owed pursuant to NYLL § 663 as applicable; and liquidated damages pursuant to

NYLL § 198(3);

       (o)     Awarding Plaintiffs and the FLSA class members prejudgment interest and the

expenses incurred in this action, including costs and attorneys’ fees, as provided by the FLSA

and the NYLL;

       (p)     Providing that if any amounts remain unpaid upon the expiration of ninety days

following issuance of judgment, or ninety days after expiration of the time to appeal and no

appeal is then pending, whichever is later, the total amount of judgment shall automatically

increase by fifteen percent, as required by NYLL § 198(4); and

       (q)     All such other and further relief as the Court deems just and proper.



Dated: New York, New York
July 20, 2016
                                                       MICHAEL FAILLACE & ASSOCIATES, P.C.


                                              By:      _/s/ Michael Faillace________________
                                                       Michael Faillace
                                                       MICHAEL FAILLACE & ASSOCIATES, P.C.

                                              - 33 -
Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 34 of 40



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                            - 34 -
Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 35 of 40
Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 36 of 40
Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 37 of 40
Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 38 of 40
Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 39 of 40
Case 1:16-cv-05796-RJS Document 1 Filed 07/20/16 Page 40 of 40
